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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS

                                                )   Criminal No. 25cr10295
UNITED STATES OF AMERICA                        )
                                                )   Violation:
              v.                                )
                                                )   Count One: Criminal Contempt
JESSICA M. LESLIE,                              )   (18 U.S.C. § 401(3))
                                                )
                      Defendant                 )

                                        INFORMATION

                                         COUNT ONE
                                       Criminal Contempt
                                      (18 U.S.C. § 401(3))

The United States Attorney charges:

       From or about August 11, 2022 through on or about March 4, 2024, in the District of

Massachusetts, the defendant,

                                      JESSICA M. LESLIE,

knowingly and willfully disobeyed and resisted a lawful order, rule, decree, and command of a

Court of the United States, that is, Federal Rule of Criminal Procedure 6(e)(2) and the order and

command of the Honorable Indira Talwani, United States District Judge, on May 26, 2022, that a

grand juror must not disclose a matter occurring before the grand jury, when, on diverse dates, she

disclosed information presented to the grand jury to unauthorized individuals, to wit: the names of

various witnesses appearing before the grand jury and the substance of their testimony and other

evidence presented to the grand jury, all while said information was under seal and not subject to

disclosure.

       All in violation of Title 18, United States Code, Section 401(3).
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